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AO 248 (Rev. S.D. Ind. 09/20) ORDER ON MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582(c)(1)(A)



                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA

 UNITED STATES OF AMERICA                                   Case No. 1:18-cr-204-JPH-TAB-01

                                                            ORDER ON MOTION FOR
 v.                                                         SENTENCE REDUCTION UNDER
                                                            18 U.S.C. § 3582(c)(1)(A)
 DAKOTA HOLLAND                                             (COMPASSIONATE RELEASE)


       Upon motion of ☒ the defendant ☐ the Director of the Bureau of Prisons for a reduction

in sentence under 18 U.S.C. § 3582(c)(1)(A), and after considering the applicable factors provided

in 18 U.S.C. § 3553(a) and the applicable policy statements issued by the Sentencing Commission,

IT IS ORDERED that the motion is:

☐ DENIED.

☒ DENIED WITHOUT PREJUDICE. Defendant filed a pro se letter that the Court construes as

a Motion for Compassionate Release under 18 U.S.C. § 3582(c)(1)(A). On its face, Defendant's

motion does not show that he is entitled to compassionate release under § 3582(c)(1)(A).

Accordingly, his motion, dkt. [56], is denied without prejudice. If Defendant wishes to renew his

motion, he may do so by completing and returning the attached form motion. (Motion for Sentence

Reduction Pursuant to 18 U.S.C. § 3582(c)(1)(A) (Compassionate Release) (Pro Se Prisoner)).

☐ OTHER:

SO ORDERED.

 Date: 10/20/2020
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